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                   Exhibit 3
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         Confidential - Subject to Protective Order

 1            UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF CALIFORNIA
 2
 3    IN RE: ROUNDUP             )
      PRODUCTS LIABILITY         )   MDL No. 2741
 4    LITIGATION                 )
      _____________________      )   Case No.
 5    THIS DOCUMENT RELATES      )   16-md-02741-VC
      TO ALL CASES               )
 6
 7               TUESDAY, JANUARY 31, 2017
 8   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
 9                          – – –
10               Videotaped deposition of David A.
11   Saltmiras, Ph.D., held at the offices of
12   HUSCH BLACKWELL, L.L.C., 190 Carondelet
13   Plaza, Suite 600, St. Louis, Missouri,
14   commencing at 9:03 a.m., on the above date,
15   before Carrie A. Campbell, Registered
16   Diplomate Reporter, Certified Realtime
17   Reporter, Illinois, California & Texas
18   Certified Shorthand Reporter, Missouri &
19   Kansas Certified Court Reporter.
20                         – – –
21
                 GOLKOW TECHNOLOGIES, INC.
22          877.370.3377 ph | 917.591.5672 fax
                       deps@golkow.com
23
24
25

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 1

     V I D E O G R A P H E R :

 2        DAN LAWLOR,

          Golkow Technologies, Inc.

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Golkow Technologies, Inc.                                           Page 3
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 1   looking at exposure through food or other

 2   exposure?

 3           A.     My understanding is the Joint

 4   Meeting on Pesticide Residues looks at

 5   residues of the material that they're

 6   evaluating in food.

 7           Q.     Okay.   And you understand that

 8   none of my clients nor any filed case in this

 9   litigation is suing Monsanto claiming that

10   they got non-Hodgkin's lymphoma from eating

11   food?

12                  MR. COPLE:    Object to the form

13           of the question.    Lacks foundation.

14                  THE WITNESS:    No, I'm unaware

15           of that.

16   QUESTIONS BY MR. LITZENBURG:

17           Q.     Okay.   I'll just -- for

18   background purposes today, sir, I am here on

19   behalf of a lot of plaintiffs who have

20   contracted the disease after applying

21   glyphosate or -- Roundup, rather,

22   glyphosate-containing products.

23                  This JMPR, are you aware of

24   them having done any assessment on exposure

25   for applicators?

Golkow Technologies, Inc.                                           Page 33
